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JS 44 (Rev. 06/17)

CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as
provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the
purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

I. (a2) PLAINTIFFS
CITY OF WILLIAMSPORT

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

(9) Attorneys (Firm Name, Address, and Telephone Number)
J. David Smith, Esquire

McCormick Law Firm
835 West Fourth Street, Williamsport, PA 17701 - T: (570) 326-5131

Lycoming County, PA

DEFENDANTS

County of Residence

NOTE:
THE TRACT

Attorneys (If Known)

 

NATIONAL FIRE INSURANCE COMPANY OF HARTFORD

of First Listed Defendant _Cook County, IL

(IN U.S. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF

OF LAND INVOLVED.

Edward M. Napierkowski, Esquire
Connor Weber & Oberlies, PC
171 W. Lancaster Ave., Paoli, PA 19301 - T: (610) 640-2800

 

II. BASIS OF JURISDICTION (Place an “X” in One Box Only)

 

(For Diversity Cases Only)

I. CITIZENSHIP OF PRINCIPAL PARTIES (Ptace an “X” in One Box for Plaintiff

and One Box for Defendant)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

O 1 U.S. Government O 3. Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Not a Party} Citizen of This State (XK 1G 1 Incorporated or Principal Place go4 a4
of Business In This State
O 2 US. Government 4 Diversity Citizen of Another State C1 2 & 2 Incorporated and Principal Place os o5
Defendant (Indicate Citizenship of Parties in Item IID) of Business In Another State
Citizen or Subject of a O 3 © 3. Foreign Nation O6 6
Foreign Country
IV. NATURE OF SUIT (Place an “x” in One Box Only) Click here for: Nature of Suit Code Descriptions.
| CONTRACT: TORTS FORFEITURE/PENALTY | BANKRUPTCY. OTHER STATUTES |
& 110 Insurance PERSONAL INJURY PERSONAL INJURY | 625 Dmg Related Seizure CJ 422 Appeal 28 USC 158 0) 375 False Claims Act
1 120 Marine © 310 Airplane CI 365 Personal Injury - of Property 21 USC 881 {0 423 Withdrawal O) 376 Qui Tam (31 USC
O 130 Miller Act C315 Airplane Product Product Liability O 690 Other 28 USC 157 3729(a))
O 140 Negotiable Instrument Liability 01 367 Health Care/ 1 400 State Reapportionment
CF 150 Recovery of Overpayment |{) 320 Assault, Libel & Pharmaceutical PROPERTY RIGHTS © 410 Antitrust
& Enforcement of Judgment Slander Personal Injury 0 820 Copyrights 0 430 Banks and Banking
C7 151 Medicare Act C1 330 Federal Employers’ Product Liability OD 830 Patent 0 450 Commerce
(1 152 Recovery of Defaulted Liability 368 Asbestos Personal 1 835 Patent - Abbreviated O 460 Deportation
Student Loans O) 340 Marine Injury Product New Drug Application |(I 470 Racketeer Influenced and
(Excludes Veterans) 0) 345 Marine Product Liability © 840 Trademark Corrupt Organizations
OG 153 Recovery of Overpayment Liability PERSONAL PROPERTY LABOR SOCIAL SECURITY. |] 480 Consumer Credit
of Veteran’s Benefits ©) 350 Motor Vehicle © 370 Other Fraud C1 710 Fair Labor Standards O) 861 HIA (1395ff) O 490 Cable/Sat TV
160 Stockholders’ Suits 355 Motor Vehicle 0 371 Truth in Lending Act 0 862 Black Lung (923) CO 850 Securities/Commodities/
C1 190 Other Contract Product Liability C 380 Other Personal 0) 720 Labor/Management 0 863 DIWC/DIWW (405(g)) Exchange
C1 195 Contract Product Liability | 360 Other Personal Property Damage Relations 0 864 SSID Title XVI ( 890 Other Statutory Actions
0 196 Franchise Injury O 385 Property Damage O 740 Railway Labor Act CO) 865 RSI (405(g)) O 891 Agricultural Acts
0 362 Personal Injury - Product Liability (1 751 Family and Medical © 893 Environmental Matters
Medical Malpractice Leave Act 0 895 Freedom of Information
| REAL PROPERTY. CIVIL RIGHTS PRISONER PETITIONS |0 790 Other Labor Litigation FEDERAL TAX SUITS Act
210 Land Condemnation 1 440 Other Civil Rights Habeas Corpus: QO 791 Employee Retirement 0 870 Taxes (US. Plaintiff 896 Arbitration
C7 220 Foreclosure 0) 441 Voting OG 463 Alien Detainee Income Security Act or Defendant) O 899 Administrative Procedure
1 230 Rent Lease & Ejectment 01 442 Employment {1 510 Motions to Vacate 0 871 IRS—Third Party Act/Review or Appeal of
0 240 Torts to Land O) 443 Housing/ Sentence 26 USC 7609 Agency Decision
245 Tort Product Liability Accommodations 1 530 General O 950 Constitutionality of
O +290 All Other Real Property 0 445 Amer. w/Disabilities - | 535 Death Penalty IMMIGRATION State Statutes
Employment Other: 462 Naturalization Application
0 446 Amer. w/Disabilities -] 540 Mandamus & Other |() 465 Other Immigration
Other 0 550 Civil Rights Actions
C) 448 Education O 555 Prison Condition
0 560 Civil Detainee -
Conditions of
Confinement

 

 

 

 

 

 

V. ORIGIN (Place an "X” in One Box Only)

Ol Original [$XK2 Removed from { 3  Remanded from (1 4 Reinstatedor © 5 Transferred from © 6 Multidistrict 0 8 Multidistrict
Proceeding State Court Appellate Court Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

 

28 U.S.C. 1332; 28 U.S.C. 1441(b)

Brief description of cause:

VI. CAUSE OF ACTION

 

Insurance Coverage - Declaratory Judgment

Cite the U.S. Civil Statute under which you are filing (Do not cite jurisdictional statutes unless diversity).

 

 

 

 

 

VII. REQUESTED IN O CHECK IF THIS IS A CLASS ACTION DEMAND $ CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 500,000.00 JURY DEMAND: WW Yes (No

VU. RELATED CASE(S) / /
IF ANY (ee instructions): jupsE—— > DOCKET NUMBER

DATE U! TTQORNEY OF ‘Oo

01/30/2019

FOR OFFICE USE ONLY

RECEIPT # AMOUNT APPLYING IFP JUDGE MAG. JUDGE

 
